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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                     (at Covington)

  TIMOTHY GREGG,                                  )
                                                  )
          Plaintiff,                              )          Civil Action No. 2: 24-134-DCR
                                                  )
  V.                                              )
                                                  )
  ST. ELIZABETH MEDICAL CENTER,                   )         AGREED PROTECTIVE ORDER
  INC.,                                           )
                                                  )
          Defendant.                              )

                                     ***    ***       ***   ***

       Having considered the parties’ proposed agreed protective order, docketed as a motion

[Record No. 16], and being sufficiently advised, it is hereby

       ORDERED that the parties’ motion [Record No. 16] is GRANTED.

       This matter involves documents which may contain non-public confidential,

proprietary, and/or trade secret information, and/or documents which may contain the

protected health information (“PHI”) of individuals, all of which must be within the scope of

confidential, non- public information as defined in Shane Grp., Inc. v. Blue Cross Blue Shield,

825 F.3d 299 (6th Cir. 2016) (collectively “Confidential Information”); and compliance with

court rules and discovery requests may require the production and disclosure of such

Confidential Information by the parties, which if released publicly could have a clearly defined

and serious injury to others, including the release of personal health or trade secret information.

Therefore, the parties hereby agree to abide by the following provisions of this Agreed

Protective Order:



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       1.      If any party produces documents which counsel for such party believes, in good

faith, to contain Confidential Information within the scope of confidential, non-public

information as defined in Shane Grp., Inc. v. Blue Cross Blue Shield, 825 F.3d 299 (6th Cir.

2016), counsel for the producing party shall designate those documents “CONFIDENTIAL,”

or some similar designation, prior to producing the documents.

       2.      The parties and their counsel shall not disclose or discuss the Confidential

Information in any way with any third party, except for express purposes of this litigation and

in accordance with Section 9 hereof. The parties and their counsel shall hold Confidential

Information in the strictest confidence and shall protect such Confidential Information with no

less diligence than used to protect its own confidential information.

       3.      The non-producing party shall be entitled to challenge any Confidential

Information designation by filing an appropriate motion with the court, after attempting to

resolve the dispute extrajudicially.

       4.      The parties and their counsel may use Confidential Information solely for the

purpose of discovery in this civil action and any motion practice, hearings and/or trial before

the Court, or in any appellate proceedings taken in relation to this matter.

       5.      The Confidential Information is, and shall remain, the property of the producing

party and no use of Confidential Information is permitted except as otherwise expressly

provided in this Agreed Protective Order and only in the manner and to the extent necessary

for discovery purposes in this civil action.

       6.      The parties and their counsel agree that if any party inadvertently produces or

discloses a document not designated as “Confidential Information” and which document

contains the PHI of any individual and is recognized as such by the receiving party, the parties
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nonetheless shall treat such document as Confidential Information in accordance with the

terms of this Agreed Protective Order.

       7.       The parties and their counsel agree that documents will be produced without any

intent to waive any privilege or other protections such as attorney work product doctrine,

provided timely claims of privilege are asserted as provided in this paragraph. If information

produced in discovery is subject to a claim of privilege or of protection, the party making the

claim may notify any party that received the information of the claim within 30 calendar days

of the production of the same, of the inadvertent disclosure, and the basis for privilege or

protection. Such notification must be in writing. After being notified within the requisite

period, a party must promptly return, sequester, or destroy the specified information and any

copies it has; must not use or disclose the information until the claim is resolved; must take

reasonable steps to retrieve the information if the party disclosed it before being notified; and

may promptly present the information to the court under seal for a determination of the claim.

The producing party must preserve the information until the claim is resolved.

       8.       This Agreed Protective Order shall commence on the date of entry and shall

cover all Confidential Information disclosed in furtherance of this Agreed Protective Order

and shall continue in full force and effect as long as Confidential Information remains

confidential.

       9.       If any Confidential Information is to be filed with the Court or attached to any

deposition by the non-producing party, notice shall be provided to opposing counsel at least

seven calendar days in advance. The party seeking to assert confidentiality must file a motion

within seven days thereof, specifying, with particularity, why the materials are confidential

under the standards set forth in Shane Grp., Inc. v. Blue Cross Blue Shield, 825 F.3d 299 (6th
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Cir. 2016). To the extent that a motion, memorandum, or brief contains any “Confidential

Information,” a party may move to file the document in redacted form provisionally utilizing

this procedure, redacting only the “Confidential Information,” and to file an unredacted version

under seal, again, with the party asserting confidentiality to file a motion within seven days

thereof, stating with particularity the grounds under which the materials are confidential under

the standards set forth in Shane Grp., Inc. v. Blue Cross Blue Shield, 825 F.3d 299 (6th Cir.

2016). Any such motion must state why sealing is required and must establish that the

document sought to be filed under seal is entitled to protection from public disclosure. In the

event that there is no determination on the motion to seal prior to the filing by the non-

producing party, that party shall file the materials under seal provisionally pending the

determination on the motion to seal.

       10.    Any person to whom Confidential Information is disclosed under the terms of

this Agreed Protective Order are required to abide by the terms of this Agreed Protective Order

and are hereby enjoined from using the Confidential Information for any purpose whatsoever

other than in discovery, any hearing, or trial of this civil action. This paragraph shall not be

construed to extend to the Court, jury, clerk of court, the court’s staff, or official reporters.

The party receiving the Confidential Information shall have the duty to provide to any such

person with a copy of this Agreed Protective Order and to notify such person that strict

adherence to this Agreed Protective Order is required.

       11.    Because of the provisional nature of an agreed protective order, a non-party, in

the appropriate circumstance, may seek permission to intervene to challenge the terms or

operation of this Protective Order.



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       12.    The Court may modify the Agreed Protective Order upon prior notice and

adequate cause. Further, the parties' restricted designations are preliminary and not a judicial

determination that any particular item is, in fact, protected from disclosure in the event of a

challenge.

       13.    Within thirty (30) days of the conclusion of this matter (including the conclusion

of any appeals), all Confidential Information under this Agreed Protective Order, including

copies thereof, in the possession of any party or its counsel shall be returned to counsel for

producing party or, in the alternative, the party shall certify to the opposing counsel that all

Confidential Information has been destroyed.

       14.    The disclosure of Confidential Information or its use hereunder shall not be

construed in any way to grant the parties any right or license with respect to Confidential

Information other than the right to use Confidential Information strictly in accordance with the

terms of this Agreed Protective Order and for no other use whatsoever.

       Dated: December 12, 2024.




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